                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
On November 19, 2010, the court sent the parties a Journal Entry instructing Plaintiff to either request a trial or file a response to Defendant's written status report by 14 days from the date the Journal Entry was filed. The Journal Entry advised that failure to comply with the deadlines set forth therein would result in dismissal of Plaintiff's appeal.
Plaintiff's deadline has passed and the court has not received Plaintiff's response or any further communication from Plaintiff. As a consequence, the court finds this matter should be dismissed for lack of prosecution. Now, therefore,
IT IS THE DECISION OF THIS COURT that this matter is dismissed.
Dated this ___ day of December 2010.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Presiding Magistrate Jill A.Tanner on December 8, 2010. The Court filed and entered thisdocument on December 8, 2010.